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                                   UNITED STATES DISTRICT COURT
                                        D ISTRICT O F NEVA DA

  USA
                      Plaintiffl
                                                                 DistrictNo. 2:09-CR-113 GM N PAL
  VS,


  LUIS VEGA-RUBIO,etal


                      Defendant.

                         ORDER TEM PORARILY UNSEALING TRANSCRIPT


        0n June22,20llthiscottl -treceived atranscriptorderform dated June22, 20llrequesting aTranscriptof
thehearing heldon Februazy 17,20l1from M r.ToddM .Leventhal,counselforDefendantLuisVega-Rubio in
                                                                                                   ,
whicha portionofthehearing issealed.

         IT IS THE ORDER OF THE COURT thatportion ofthesealedrecordingshallbeunsealedbytheClerk
forthe limitedpurposeofproviding atranscriptofhearingasrequestedby DefenseCounsel.


        IT IS FURTHER ORDERED thatthe portion ofthesealedrecordingshallthereafterberesealedby the
Clerk,untilfurtherorderofthisCourt.


        IT IS FURTHER ORDERED thatDefenseCounselshallnotdisclosethesealed contentseftbetranscript
to anyoneotherthan therepresentativesofthepartiesdiredlyconcerned withthiscase.


        DATED this       day ofJune,201l.

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                                                 GloriaM .N av
                                                 UnitedStates istrictJudge
